         Case 1:21-cr-00537-JMC Document 189 Filed 08/16/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                         Case No. 1:21-cr-00537-JMC
RYAN SAMSEL, et al.,

   Defendants.


                   GOVERNMENT’S RESPONSE TO MINUTE ORDER
                  OF AUGUST 16, 2022 REGARDING STATUS REPORT
                         BY DEFENDANT RYAN SAMSEL


        The United States of America respectfully provides the response below pursuant to this

Court’s August 16, 2022 Minute Order, which directs the United States to address defendant

Samsel’s most recent status report, ECF 188.

        1. On June 28, 2022, the defendant was taken for a medical evaluation as a result of an

earlier order from this Court, ECF 159. The evaluation resulted in a decision to arrange for

additional scans, consisting of a chest x-ray, mammogram, and ultrasound, before another follow-

up which the examining physician sought at a date “in approximately four weeks.”

        2. On July 21, 2022, the defendant refused to undergo the chest x-ray.

        3. On August 2, 2022, the defendant received a mammogram and ultrasound. There were

no suspicious findings seen.

        4. On August 8, 2022, the defendant was examined by an Assistant Professor of Surgery,

who discussed with defendant Samsel that there were no suspicious findings seen on his recent

imaging. An additional procedure was recommended, which has been scheduled.
Case 1:21-cr-00537-JMC Document 189 Filed 08/16/22 Page 2 of 2




                            Respectfully submitted,

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